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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ANDREW ARMIJO,

             Plaintiff,
v.                                                            CV No. 20-901 CG/GJF

C.R. BARD, INC., et al.,

             Defendants.


          ORDER DISMISSING DEFENDANT MCKESSON CORPORATION
                          WITHOUT PREJUDICE

      THIS MATTER is before the Court on the parties’ Joint Motion to Dismiss

Plaintiff’s Claims Against McKesson Corporation Without Prejudice (the “Motion”), (Doc.

32), filed September 18, 2020. The Court, having read the Motion, noting it is

unopposed, and being otherwise fully advised, finds that the Motion is well-taken and

should be GRANTED.

      IT IS THEREFORE ORDERED that all of Plaintiff’s causes of action against

Defendant McKesson Corporation are dismissed without prejudice, with each party

bearing their own costs and fees.

      IT IS SO ORDERED.


                                    ____________________________________
                                    THE HONORABLE CARMEN E. GARZA
                                    CHIEF UNITED STATES MAGISTRATE JUDGE
